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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                           AMARILLO DIVISION

        FIRSTBANK SOUTHWEST,                                    §
                                                                §
                   PLAINTIFF,                                   §
                                                                §
        VS.                                                     §      Civil Action No. 2:21-cv-00024-Z
                                                                §
        HEARTLAND FINANCIAL USA, INC.                           §
        d/b/a FIRSTBANK & TRUST, and                            §
        FIRSTBANK & TRUST TEXAS,                                §
                                                                §
                   DEFENDANTS.                                  §

           DEFENDANT HEARTLAND FINANCIAL USA, INC.’S ANSWER TO PLAINTIFF’S
                            FIRST AMENDED COMPLAINT

                   Defendant Heartland Financial USA, Inc. (“Heartland”) by and through their undersigned

        counsel, answers Plaintiff FirstBank Southwest’s First Amended Complaint as follows:

                                                       I. Parties

                   1.    Heartland lacks sufficient information to admit or deny the allegations in this

        paragraph.

                   2.    Heartland denies that it is doing business as FirstBank & Trust. Heartland admits

        the remaining allegations in this paragraph.

                   3.    Heartland admits the allegations in this paragraph.

                                                    II. Jurisdiction

                   4.    To the extent this paragraph calls for a legal conclusion, no admission is required of

        Heartland. Heartland otherwise admits the allegations in this paragraph.

                                                       III. Venue

                   5.    To the extent this paragraph calls for a legal conclusion, no admission is required of

        Heartland. Heartland denies that it has adopted any marks or that any marks at issue in this




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        proceeding are infringing. Heartland admits that a substantial part of the events or omissions

        giving rise to this proceeding occurred in the Northern District of Texas, Amarillo Division.

                   6.    To the extent this paragraph calls for a legal conclusion, no admission is required of

        Heartland. Heartland admits that it has acquired entities in Texas. Heartland otherwise denies the

        allegations in this paragraph.

                   7.    Heartland admits that Defendant FirstBank & Trust is headquartered in Texas and

        conducts a substantial amount of business in Texas. Heartland denies the remaining allegations in

        this paragraph.

                                                IV. Factual Background

                   8.    Heartland lacks sufficient information to admit or deny the allegations in this

        paragraph. To the extent an answer is required, Heartland denies the allegations.

                   9.    Heartland denies the allegations in this paragraph.

                   10.   Heartland denies that Plaintiff has strong trademark rights. Heartland lacks

        sufficient information to admit or deny the remaining allegations in this paragraph. To the extent

        an answer is required, Heartland denies the allegations.

                   11.   Heartland denies that customers associate the FBSW Marks with Plaintiff’s

        banking and trust services, that Plaintiff’s banking and trust services are superior, or that the

        FBSW Marks are highly valuable assets and symbolize Plaintiff’s goodwill. Heartland lacks

        sufficient information to admit or deny the remaining allegations in this paragraph. To the extent

        an answer is required, Heartland denies the remaining allegations in this paragraph.

                   12.   Heartland denies the allegations in this paragraph.

                   13.   Heartland denies that it uses the alleged Infringing Marks in connection with

        advertising and promotion of its banking and trust services. Heartland further denies that the



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        alleged Infringing Marks infringe upon any purported trademark rights held by Plaintiff.

        Heartland admits the remaining allegations in this paragraph.

                   14.   Heartland lacks sufficient information to admit or deny the coexistence of

        AimBank and Plaintiff without known customer confusion. Heartland admits the remaining

        allegations in this paragraph.

                   15.   Heartland denies that AIM Bancshares, Inc. is the same as AimBank. Heartland

        admits that it announced its intention to acquire AIM Bancshares, Inc. in 2020. Heartland also

        admits that it announced the completion of the acquisition of AIM Bancshares, Inc. on December

        7, 2020, and that AimBank merged into FirstBank & Trust Texas.

                   16.   This paragraph references a written press release which speaks for itself. To the

        extent an answer is required, Heartland admits that it issued a press release on December 7, 2020

        entitled “Heartland Completes Acquisition of AimBank in Texas.” Heartland admits that the

        press release stated “Heartland . . . announced today the completion of its acquisition of

        AimBank,” “[t]he combined bank will operate under the name FirstBank & Trust,” that

        Heartland’s Executive Operating Chairman, Lynn B. Fuller, stated in the release, “We are

        excited to expand our presence in Texas and New Mexico,” that Heartland’s President and Chief

        Executive Offer stated: “We are excited to welcome the customers and employees of AimBank,”

        and that the combination “will create additional value for our shareholders.” Heartland denies

        the remaining allegations in this paragraph.

                   17.   Heartland admits that FirstBank & Trust Texas is listed on Heartland’s website as a

        member bank. Heartland denies the remaining allegations in this paragraph.

                   18.   This paragraph references a written letter which speaks for itself. To the extent an

        answer is required, Heartland admits that it received a letter from counsel for Plaintiff dated June



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        26, 2020. Heartland admits that this letter expressed concern regarding Plaintiff’s perceived

        similarities between FirstBank & Trust Texas’ logo and name and Plaintiff’s logo and name.

        Heartland denies the remaining allegations in this paragraph.

                   19.   Heartland denies that it has engaged in willful infringement or that actual customer

        confusion occurred. Heartland lacks sufficient information to admit or deny the remaining

        allegations in this paragraph. To the extent an answer is required, Heartland denies the

        allegations.

                   20.   Heartland denies that it uses the alleged Infringing Marks in the Texas Panhandle

        in connection with banking services. Heartland admits that FirstBank & Trust uses the alleged

        Infringing Marks in the Texas Panhandle in connection with banking services, but denies that

        such marks are infringing. Heartland denies the remaining allegations in this paragraph.

                   21.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   22.   Heartland admits that Plaintiff filed this suit. Heartland denies the remaining

        allegations in this paragraph.

                   23.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   24.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   25.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   26.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.



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                                                 V. Causes of Action

                                         Count 1: Violation of the Lanham Act

                   27.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   28.   Heartland lacks sufficient information to admit or deny the allegations in this

        paragraph. To the extent an answer is required, Heartland denies the allegations.

                   29.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   30.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   31.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   32.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   33.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   34.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   35.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                    Count 2: Common Law Trademark Infringement

                   36.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.




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                   37.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   38.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   39.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   40.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   41.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   42.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                       Count 3: Common Law Unfair Competition

                   43.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   44.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   45.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   46.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                              Count 4: Unjust Enrichment

                   47.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

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                   48.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   49.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   50.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                            Count 5: Declaratory Judgment

                   51.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   52.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   53.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   54.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   55.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                          Count 6: Corporate Parent Liability

                   56.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   57.   Heartland denies that has used and continues to use the Infringing Marks in

        commerce. The remainder of this paragraph calls for a legal conclusion and no answer is

        required. To the extent an answer is required, Heartland denies the allegations in this paragraph.



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                   58.   Heartland denies that it exercised complete control over the activities of FirstBank

        & Trust Texas. The remainder of this paragraph calls for a legal conclusion and no answer is

        required. To the extent an answer is required, Heartland denies the allegations in this paragraph.

                   59.   Heartland admits that it issued a press release announcing the completion of its

        acquisition of AimBank’s holding company and believes the press release speaks for itself.

        Heartland denies the remaining allegations in this paragraph.

                   60.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   61.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   62.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                                 VI. Injunctive Relief

                   63.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                   64.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                              VII. Conditions Precedent

                   65.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.

                                                     VIII. Prayer

                   66.   This paragraph calls for a legal conclusion and no answer is required. To the extent

        an answer is required, Heartland denies the allegations in this paragraph.




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                                              AFFIRMATIVE DEFENSES

                   1.    Plaintiff has failed to state a claim upon which relief can be granted.

                   2.    Plaintiff’s claims are barred because its alleged trademarks are generic or merely

        descriptive, are not distinctive, have not acquired secondary meaning, and do not serve as a

        trademark.

                   3.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of judicial estoppel.

                   4.    Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver and

        acquiescence.

                   5.    Plaintiff’s claims are barred, in whole or in part, by its failure to police its

        trademarks.

                   6.    Plaintiff’s alleged damages are too speculative to be permitted.

                   7.    Plaintiff’s alleged damages were not proximately caused by the conduct of

        Defendants.

                   8.    Plaintiff did not incur the damages alleged.

                   9.    Plaintiff failed to mitigate its damages.

                   10.   Pursuant to Fed. R. Civ. P. 8, all possible affirmative defenses may not have been

        alleged herein insofar as insufficient facts were not available after reasonable inquiry upon the

        filing of Plaintiff’s First Amended Complaint, and therefore, FB&T reserves the right to amend

        this Answer to the First Amended Complaint to allege additional affirmative defenses, should

        subsequent investigation so warrant.




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                                                        PRAYER

                   Defendant Heartland Financial USA, Inc. requests that the Court:

                      a. dismiss Plaintiff’s claims with prejudice;

                      b. enter a final judgment that Plaintiff take nothing;

                      c. award Defendant its costs of court; and

                      d. grant Defendant all other relief, at law or in equity, to which it may be justly

                         entitled.



                                               Respectfully submitted,


                                               /s/ Craig B. Florence
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                                               ATTORNEYS FOR DEFENDANT
                                               HEARTLAND FINANCIAL USA, INC




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                                          CERTIFICATE OF SERVICE
             The undersigned Counsel hereby certifies that the foregoing has been served via ECF and/or
        email on this the 23rd day of June 2021, to the following:

                                                        /s/ Abigail K. Drake
                                                        Abigail K. Drake

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